     Case 5:13-cv-00584-MMM-SP Document 5 Filed 04/23/13 Page 1 of 2 Page ID #:30



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6
     Attorney for Plaintiff

7
                          UNITED STATES DISTRICT COURT
8                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
     VERONICA TULLOUS, an individual, ) Case No. 5:13-cv-00584-MMM-SP
10                                      )
            Plaintiff,                  ) NOTICE OF SETTLEMENT
11
                                        )
12           vs.                        )
                                        )
13
     ENHANCED RECOVERY COMPANY, )
14   LLC, AND DOES 1 THROUGH 10,        )
                                        )
15
             Defendant.                 )
16   __________________________________ )
17          NOW COMES THE PLAINTIFF by and through her attorney to respectfully

18   notify this Honorable Court that this case has settled. Plaintiff requests that this
19
     Honorable Court allow sixty (60) days with which to file dispositive documentation. A
20

21
     Voluntary Dismissal will be forthcoming. This Court shall retain jurisdiction over this

22   matter until fully resolved.
23
                   Respectfully submitted this 23rd day of April 2013
24

25
                                             By: s/L. Paul Mankin
                                                L. Paul Mankin
26                                             The Law Office of L. Paul Mankin IV
                                                Attorney for Plaintiff
27

28   Filed electronically on this 23rd day of April, 2013, with:



                                         Notice of Settlement - 1
     Case 5:13-cv-00584-MMM-SP Document 5 Filed 04/23/13 Page 2 of 2 Page ID #:31



1    United States District Court CM/ECF system
2
     Notification sent electronically via the Court’s ECF system to:
3

4
     Honorable Margaret M. Morrow
     United States District Court
5    Central District of California
6
     Stephen H. Turner
7    Lewis, Brisbois, Bisgaard & Smith, LLP
8
     Attorney for Defendant

9    This 23rd day of April 2013
10
     s/L. Paul Mankin
11   L. Paul Mankin
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                                         Notice of Settlement - 2
